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 1   ROB BONTA, State Bar No. 202668
     Attorney General of California
 2   MICHAEL L. NEWMAN, State Bar No. 222993
     Senior Assistant Attorney General
 3   LAURA L. FAER, State Bar No. 233846
     VILMA PALMA-SOLANA, State Bar No. 267992
 4   Supervising Deputy Attorneys General
     LISA CISNEROS, State Bar No. 251473
 5   DELBERT K. TRAN, State Bar No. 323993
     SOPHIA CARRILLO, State Bar No. 326428
 6   Deputy Attorneys General
      455 Golden Gate Ave., Suite 11000
 7    San Francisco, CA 94102-7004
      Telephone: (415) 510-4400
 8    E-mail: Delbert.Tran@doj.ca.gov
     Attorneys for Defendant California Secretary of
 9   State Shirley N. Weber
10                           IN THE UNITED STATES DISTRICT COURT

11                        FOR THE EASTERN DISTRICT OF CALIFORNIA

12                                     SACRAMENTO DIVISION

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14
     NATIONAL CENTER FOR PUBLIC                         Case No. 2:21-CV-02168 JAM-AC
15   POLICY RESEARCH,
                                                        DEPUTY ATTORNEY GENERAL
16                                         Plaintiff,   DELBERT K. TRAN’S REQUEST TO
                                                        APPEAR TELEPHONICALLY FOR
17                 v.                                   APRIL 19, 2022 HEARING ON
                                                        DEFENDANT’S MOTION TO DISMISS
18                                                      AND DEFENDANT’S MOTIONS TO
     SHIRLEY N. WEBER, in her official                  STAY PROCEEDINGS
19   capacity as Secretary of State of the State of
     California,                                   Date:        April 19, 2022
20                                                 Time:        1:30 p.m.
                                        Defendant. Dept:        6
21                                                 Judge:       The Honorable John A. Mendez
                                                   Trial Date: TBD
22                                                 Action Filed: November 22, 2021

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                                                  Request for Telephonic Appearance (2:21-CV-02168 JAM-AC)
      Case 2:21-cv-02168-JAM-AC Document 28 Filed 04/18/22 Page 2 of 3


 1          Deputy Attorney General Delbert K. Tran, as counsel for Defendant Secretary of State Dr.
 2   Shirley N. Weber, requests the Court’s permission to appear by telephone at the April 19, 2022
 3   hearing on the motion to dismiss in National Center for Public Policy Research v. Weber, 21-cv-
 4   02168, and the motions to stay proceedings in Alliance v. Weber, 21-cv-01951-JAM-AC;
 5   National Center for Public Policy Research v. Weber, 21-cv-02168; and Meland v. Weber, 19-cv-
 6   02288-JAM-AC. Counsel had planned to attend the hearing in person, but was informed this
 7   morning of potential COVID-19 exposure while attending a small, indoors event on Saturday,
 8   April 16, 2022. Due to health and safety precautions, Deputy Attorney General Delbert K. Tran
 9   requests permission to appear by telephone at the April 19, 2022 hearing for the matters described
10   above.
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     Dated: April 18, 2022                               Respectfully submitted,
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15                                                       /s/Delbert K. Tran
                                                         DELBERT K. TRAN
16                                                       Deputy Attorney General
                                                         Attorney for Defendant California
17                                                       Secretary of State
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                                                  Request for Telephonic Appearance (2:21-CV-02168 JAM-AC)
         Case 2:21-cv-02168-JAM-AC Document 28 Filed 04/18/22 Page 3 of 3



                              CERTIFICATE OF SERVICE

Case Name:        NCPPR v. Shirley N. Weber               Case No. 2:21-CV-02168 JAM-AC

I hereby certify that on April 18, 2022, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:

   DEPUTY ATTORNEY GENERAL DELBERT K. TRAN’S REQUEST TO APPEAR
  TELEPHONICALLY FOR APRIL 19, 2022 HEARING ON DEFENDANT’S MOTION
      TO DISMISS AND DEFENDANT’S MOTIONS TO STAY PROCEEDINGS

I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on April 18,
2022, at San Francisco, California.

                  G. Pang
                  Declarant                                          Signature
LA2021604822/43182878.docx
